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Attorneys for Plaintiff Strike 3 Holdings, LLC

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 STRIKE 3 HOLDINGS, LLC,
                                                      Case No. 2:20-cv-08058-KM-JBC
                       Plaintiff,

        v.                                                  NOTICE OF VOLUNTARY
                                                          DISMISSAL WITH PREJUDICE
 JOHN DOE, subscriber assigned IP address
 67.82.100.205,

                       Defendant.


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Strike 3 Holdings,

LLC hereby gives notice that its claims in this action against Defendant John Doe, subscriber

assigned IP address 67.82.100.205, are voluntarily dismissed with prejudice.


DATED: July 27, 2020                                 Respectfully submitted,

                                                     THE ATKIN FIRM, LLC
                                                     Attorneys for Plaintiff,
                                                     Strike 3 Holdings, LLC

                                                     /s/ John C. Atkin, Esq.
                                                     John C. Atkin, Esq.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2020, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.


                                                    By:     /s/ John C. Atkin
                                                           John C. Atkin, Esq.




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